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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                            CENTRAL DIVISION

AMERICAN ATHEISTS, INC.;
BETTY JO FERNAU;
CATHERINE SHOSHONE;
ROBERT BARRINGER; and
KAREN DEMPSEY                                                              PLAINTIFFS

v.                             Case No. 4:19-cv-17-KGB

STANLEY JASON RAPERT,
In His Individual and Official Capacity                                    DEFENDANT


                            APPEARANCE OF COUNSEL

To:   The clerk of court and all parties of record

      I am admitted or otherwise authorized to practice in this court, and I appear in this

      case as counsel for the Defendant, Stanley Jason Rapert, in his individual capacity.

Date: January 26, 2021                          Ashley Jordan Davis, AR 2017034

                                                415 N. McKinley St., Suite 210
                                                Little Rock, AR 72205
                                                jordan@paulbyrdlawfirm.com
                                                T: (501) 420-3050
                                                F: (501) 420-3128
